
PER CURIAM.
James C. Harris, Jr. challenges the denial of his motion to correct an illegal sentence filed pursuant to Florida Rule of Criminal Procedure 3.800(a). The trial court denied Harris’s motion on the basis it was successive and that claims raised therein had already-been disposed of by a previous trial court order. Since, however, the trial court failed to attach the documents upon which its order of denial relied, we remand for attachment of those documents — which, of course, must conclusively refute Harris’s claims — or for further proceedings.
Accordingly, the instant cause is remanded with directions consistent with this opinion.
CAMPBELL, A.C.J., and THREADGILL and QUINCE, JJ., concur.
